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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

 APRIL WOODS, individually and on behalf                       Case No. 0:22-cv-1870
 of all others similarly situated,

                Plaintiff,

 v.

 ABSOLUTE TOTAL CARE, INC., a South
 Carolina incorporation,

                Defendant.



                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff April Woods hereby provides notice to the Court of the dismissal of this action

without prejudice, with each party to bear its own attorneys’ fees and costs.



DATED this 3rd day of August, 2022.          /s/ V. Elizabeth Wright
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